OPINION — AG — ** TORT — CLAIM — ADJUTANT GENERAL — MILITARY ** " AN EMPLOYEE OF THIS DEPARTMENT WAS INJURED WHILE PERFORMING HIS DUTIES IN THE ARMORY MAINTENANCE SECTION. THE INJURY CONSISTED OF A LACERATION OF THE LEFT FINGER. HE WAS TREATED BY A LOCAL PHYSICIAN. THE MEDICAL CHARGE IN THIS CASE WAS $14.50. MAY THIS AGENCY PAY THIS CLAIM ? — NEGATIVE WITHOUT PROPER APPROPRIATION. CITE: ARTICLE X, SECTION 15 (OWEN J. WATTS)